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                             IN THE UNITED STATES BANKRUPTCY COURT
                                  FOR THE DISTRICT OF DELAWARE


         In re:                                                  Chapter 11

         BOY SCOUTS OF AMERICA AND                               Case No. Case No. 20-10343 (LSS)
         DELAWARE BSA, LLC,
                                                                 (Jointly Administered)
         Debtors.


                          MOTION AND ORDER FOR ADMISSION PRO HAC VICE

       Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission pro hac vice of
Matthew E. Linder of White & Case LLP, 111 South Wacker Drive, Suite 5100, Chicago, Illinois 60606-4302 to
represent the Debtors, in the above-captioned case and any related proceedings.

Dated: October 16, 2020                               MORRIS, NICHOLS, ARSHT & TUNNELL LLP
       Wilmington, Delaware
                                                      /s/ Eric W. Moats
                                                      Eric W. Moats (No. 6441)
                                                      1201 North Market Street
                                                      P.O. Box 1347
                                                      Wilmington, DE 19899-1347
                                                      Telephone: (302) 658-9200

                    CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, and am admitted,
practicing, and in good standing as a member of the Bar of the State of Illinois. I submit to the disciplinary
jurisdiction of this Court for any alleged misconduct which occurs in the preparation or course of this action. I also
certify that I am generally familiar with this Court’s Local Rules and with the Standing Order for District Court Fund
revised 8/31/16. I further certify that the annual fee of $25.00 has been paid to the Clerk of Court for District Court.

Dated: October 16, 2020                                /s/ Matthew E. Linder
                                                       Matthew E. Linder
                                                       WHITE & CASE LLP
                                                       111 South Wacker Drive
                                                       Suite 5100
                                                       Chicago, IL 60606-4302
                                                       Telephone: (312) 881-5400
                                                       Email: mlinder@whitecase.com


                                          ORDER GRANTING MOTION
       IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.
